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                           APPENDIX 1
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                 Appendix 1—CIIPPs Claims Subject to Summary Judgment


State            State Antitrust                    Consumer Protection
Arizona          Count 2, claim under Ariz. Rev.    N/A (none brought)
                 Stat. § 44-1401, et seq.
California       Count 3, claim under Cal. Bus. &   Count 26, claim under Cal. Bus. & Prof.
                 Prof. Code § 16700, et seq.        Code § 17200, et seq.
D.C.             Count 4, claim under D.C. Code §   N/A (none brought)
                 28-4501, et seq.
Florida          N/A (none brought)                   Count 27, claim under Fla. Stat. §
                                                      501.201(2), et seq.
Illinois         Count 5, claim under 740 Ill. Comp. Count 28, claim under 815 Ill. Comp.
                 Stat. Ann. 10/3(1), et seq.          Stat. Ann. 505/10a, et seq.
Iowa             Count 6, claim under Iowa Code § N/A (none brought)
                 553.1, et seq.
Kansas           Count 7, claim under Kan. Stat. N/A (none brought)
                 Ann. § 50-101, et seq.
Maine            Count 8, claim under Me. Rev. Stat. N/A (none brought)
                 Ann. Tit. 10 § 1101, et seq.
Michigan         Count 9, claim under Mich. Comp. N/A (none brought)
                 Laws § 445.771, et seq.
Minnesota        Count 10, claim under Minn. Stat. § Count 29, claim under Minn. Stat. §
                 325D.49, et seq.                     325F.68, et seq.
Mississippi      Count 11, claim under Miss. Code N/A (none brought)
                 Ann. § 74-21-1, et seq.
Nebraska         Count 12, claim under Neb. Rev. Count 30, claim under Neb. Rev. Stat. §
                 Stat. § 59-801, et seq.              59-1602, et seq.
Nevada           Count 13, claim under Nev. Rev. Count 31, claim under Nev. Rev. Stat. §
                 Stat. § 598A.010, et seq.            598.0903, et seq.
New Hampshire    Count 14, claim under N.H. Rev. Count 32, claim under N.H. Rev. Stat.
                 Stat. Ann. Tit. XXXI, § 356, et seq. Ann. Tit. XXXI, § 358-A, et seq.
New Mexico       Count 15, claim under N.M. Stat. Count 33, claim under N.M. Stat. Ann.
                 Ann. §§ 57-1-1, et seq.              §§ 57-12-3, et seq.
New York         Count 16, claim under Section 340 N/A (none brought)
                 of the New York General Business
                 Law
North Carolina   Count 17, claim under N.C. Gen. Count 34, claim under N.C. Gen. Stat. §
                 Stat. § 75-1, et seq.                75-1.1, et seq.
North Dakota     Count 18, claim under N.D. Cent. N/A (none brought)
                 Code § 51-08.1, et seq.
Oregon           Count 19, claim under Or. Rev. Count 35, claim under Or. Rev. Stat. §
                 Stat. § 646.705, et seq.             646.605, et seq.
Rhode Island     Count 20, claim under R.I. Gen N/A (none brought)
                 Laws § 6-36-1, et seq.
South Carolina   N/A (none brought)                   Count 36, claim under S.C. Code Ann.
                                                      §§ 39-5-10, et seq.
South Dakota     Count 21, claim under S.D. Count 37, claim under S.D. Codified
                 Codified Laws § 37-1-3.1, et seq.    Laws § 37-24, et seq.

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 Tennessee        Count 22, claim under Tenn. Code,   N/A (none brought)
                  § 47-25-101, et seq.
 Utah             Count 23, claim under Utah Code   Count 38, claim under Utah Code All. §§
                  Ann. §§ 76-10-911, et seq.        13-5-1, et seq.
 Vermont          N/A (none brought)                Count 39, claim under Vt. Stat. Ann. Tit.
                                                    9, §§ 2453, et seq.
 West Virginia    Count 24, claim under W. Va. Code N/A (none brought)
                  §47-18-1, et seq.
 Wisconsin        Count 25, claim under Wis. Stat. N/A (none brought)
                  Ann. § 133.01(1), et seq.


**Note: As relevant to this Motion, CIIPPs bring a single unjust enrichment claim in which
they purport to assert claims under the laws of each of the following states: Arizona,
California, District of Columbia, Florida, Hawaii, Illinois, Iowa, Kansas, Maine,
Massachusetts, Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada,
New Hampshire, New Mexico, North Carolina, Oregon, Rhode Island, South Carolina, South
Dakota, Tennessee, Utah, Vermont, West Virginia, and Wisconsin. See CIIPPs Complaint,
Count 40. Defendants’ Motion seeks summary judgment as to all of these unjust enrichment
claims.**




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